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EASTERN DISTRICT OF CALIFORNIA

In re: Case No. 09-32327-D-13L
Docket Control Nos. SL-l
SL-2
SL-3

PAULA CORDOVA,
Debtor.
Date: October l3, 2009

Time: l:OO p.m.
Dept: D

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This memorandum decision is not approved for publication and may
not be cited except when relevant under the doctrine of law of
the case or the rules of claim preclusion or issue preclusion.

MEMORANDUM DECIsIoN

On August 5, 2009, the United States Department of
Agriculture, Rural Development Agency (“Rural Housing”) filed an
Objection of the United States to Treating Its Purchase Money
Mortgage on the Debtor'S Residence as Four Separate Mortgages
(the “Objection”), bearing Docket Control Nos. SL-Ol, SL-OZ, and
SL-O3. For the reasons set forth below, the court will overrule
the Objection.

I. INTRODUCTION

The debtor filed her chapter 13l petition commencing this

case on June 16, 2009. At the same time, the debtor filed a

proposed chapter 13 plan containing three Attachments M-3 --

Motions to Value Collateral (the “Motions”), by which the debtor

 

l. Unless otherwise indicated, all Code, chapter, section
and Rule references are to the Bankruptcy-Code, ll U.S.C. §§ lOl-
1330, and to the Federal Rules of Bankruptcy Procedure, Rules
1001-9036.

 

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seeks to value at zero three alleged secured claims of Rural
Housing evidenced by deeds of trust against the debtor's property
at 210 Palin Avenue, Galt, California (the “Property”), those
claims to be treated instead as general unsecured claims.2

Rural Housing objects to the Motions, arguing that the loan
documents the debtor signed in connection with her purchase of
the Property were all part of a single transaction; in essence,
that Rural Housing has a single purchase money mortgage against
the Property that the debtor cannot bifurcate into secured and
unsecured portions.

II . ANALYSIS

This court has jurisdiction over the Objection pursuant to
28 U.S.C. §§ 1334 and 157(b)(1). The Objection is a core
proceeding under 28 U.S.C. § 157(b)(2)(B).

Pursuant to § 506(a)(1), “a claim is secured only to the
extent of the value of the property on which the lien is fixed;
the remainder of that claim is considered unsecured.” United
States v. Ron Pair Enterprises, 489 U.S. 235, 239 (1989). In a
chapter 13 case, if a claim is secured only by the debtor's
primary residence and the value of the property is sufficient to
secure the claim at least in part, § 506(a)(1) may not be used to
bifurcate the claim. § 1322(b)(2); Nobelman v. American Savings
§§Qh, 508 U.S. 324, 327-32 (1993). However, if the value of the
property is such that it provides no security at all for the

claim, that is, if the claim is totally unsecured, § 506(a)(1)

 

2. The debtor identified the three Attachments M-3 as
Docket Control Nos. SL-001, SL-002, and SL-OO3; hence Rural
Housing's use of the those docket control numbers on the
Objection.

 

 

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may be used to bifurcate the claim and “strip off” the lien.
Zimmer v. PSB Lendinq Corp. (In re Zimmer), 313 F.3d 1220, 1226-
27 (9th Cir. 2002); Lam v. Investors Thrift §In re Lam), 221 B.R.
36, 41 (9th Cir. BAP 1997).

The debtor contends that the value of the Property is
$109,000 and that Rural Housing has four liens against the
Property -- in the amounts of $141,357.22, $84,172, $3,000, and
$2,600 in order of priority.3 Because the amount secured by the
most senior lien, $141,357.22, exceeds the value of the Property,
the debtor contends there is no value in the Property to secure
the two remaining liens, which should therefore be valued at
zero. \

The loan amounts and corresponding liens derive as follows.
When the debtor purchased the Property, in May 2003, Rural
Housing allowed her to assume the seller's Rural Housing loan,
then having a balance of $112,603.27, Objection, Ex. 4, secured
by a deed of trust recorded November 6, 1998. ld., Ex. 1. Rural
Housing loaned the debtor the remaining amount of the purchase

price, $82,390. ld., Ex. 4. A deed of trust securing an

.indebtedness of $82,390 was recorded on May 13, 2003, id.,

presumably the day escrow closed on the debtor's purchase of the
house. Rural Housing allowed the debtor to make certain repairs
to the Property after the close of escrow, and for that purpose,
loaned her an additional $3,000 on October 9, 2003 and $2,600 on

November 9, 2003, Objection, Ex. 6. A deed of trust securing

 

3. As will be seen below, there are actually three liens
securing four loans -- two of the loans, the $3,000 and $2,600
loans, are secured by a single deed of trust.

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these two loans was recorded on March 16, 2004. ld.4

Rural Housing does not for the purpose of the Objection
dispute the debtor's valuation of the Property. Instead, it
contends its loans to the debtor, including her assumption of the
senior loan, the new $82,390 loan, and the two loans for repairs,
comprised a single transaction whereby the debtor purchased the
Property.

[The debtor] cannot treat each promissory note or

assumption agreement as being a separate loan and

allege that the three “junior” liens have no equity

because the assumption agreement and the three

promissory notes that [the debtor] executed and

delivered to Rural Housing in 2003 are all part of the

purchase price she agreed to pay for [the Property],

which purchase price Rural Housing lent her.
Objection, 2:27-3:3.5

Rural Housing cites Nobelman as support for its theory that
because value of at least $109,000 secures “the Rural Hous[ing]
mortgage,” the debtor cannot bifurcate “it” into secured and

unsecured portions. Objection, 3:3-6. The suggestion is that

all the loans comprise a single mortgage.6

 

4. In addition to the assumption agreement, the debtor
signed individual promissory notes in favor of Rural Housing, for
$82,390, $3,000, and $2,600 respectively. Objection, Exs. 4, 6.

5. The theory that the loans for repairs, although made
months later, were a part of the purchase is based on the
suggestion that the repairs were necessary to bring the house up
to Rural Housing's standards, and that absent the debtor's
agreement to make those repairs, Rural Housing would not have
assisted with her purchase of the Property. gee Declaration of
Ralph Westlin, filed August 5, 2009, §§ 5, 19, referring to “any
and all repairs and USDA upgrade requirements,” and “repairs to
bring the Palin house up to USDA standards.”

6. In a slightly modified version of the Objection, filed
August 7, 2009, Rural Housing refers to “the Debtor's improper
(continued...)

 

 

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Rural Housing cites no authority, and the court is aware of
none, for the proposition that different obligations secured by
different deeds of trust together comprise a single “mortgage” or
any Other type of single charge or encumbrance against real
property.

lt is clear from Rural Housing's own documents that the
debtor's obligations secured by each of the three deeds of trust
are separate and distinct from each other. None of the documents
purports to cross-collateralize any of the obligations, although
Rural Housing could easily have chosen to structure the
transaction in that fashion.

Although Rural Housing suggests it afforded the debtor some
advantage when it “allowed” her to assume the senior loan,
Objection at 2:6-8, the obligations evidenced by the assumption
agreement and the $82,390 promissory note carry the same interest
rate and precisely the same maturity date, May 9, 2041.7 Rural
Housing suggests no reason it could not have used a single note
and deed of trust for the entire amount of the purchase price.
However, even if Rural Housing could demonstrate an advantage to
the debtor from the structuring of the transaction, there is no
authority to suggest that advantage to the borrower is the test

in determining the effect of layered financing under § 506(a).

 

6.(...continued)
attempt to strip its first position purchase money mortgage from
the Debtor's residence.” Objection of the United States to

Treating Its Purchase Money Mortgage as Four Separate Mortgages
filed August 7, 2009, 1:20-22. The court notes also that Rural
Housing has filed a single proof of claim, for $256,775.05.

7. Further, the monthly payments specified in the assumption
agreement and the promissory note are both in the precise amounts
necessary to fully amortize the loans over their 38-year term.

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Finally, the two loans for repairs were made five and six
months after the debtor's purchase of the property; the deed of
trust securing them was not recorded until ten months after the
purchase transaction closed. These loans have a different
interest rate and maturity date from the assumed loan and the
$82,390 loan. There is no legal or logical reason to treat them
as a part of the purchase transaction secured by a single
security instrument.

Most significant, Rural Housing could not declare a default
under one of the promissory notes but then foreclose under the
deed of trust securing a different note; by the same token, the
debtor could pay off one of the obligations and require
reconveyance of the deed of trust securing that particular
obligation. The fact that the assumed loan and the $82,390 loan
together comprised the purchase price of the Property does not
tie them together for purposes of § 506(a) any more than if the
debtor had assumed the first with Rural Housing but borrowed the
remainder of the purchase price from a third party or parties`
through second and/or third deeds of trust.

III. Conclusion

The court concludes that the three sets of obligations --
(l) those evidenced by the assumption agreement and secured by
the senior deed of trust, (2) those evidenced by the $82,390
promissory note and secured by the second deed of trust, and (3)
those evidenced by the $3,000 and $2,600 promissory notes and
secured by the third deed of trust -- are independent obligations
secured by stand-alone deeds of trust. Because the amount due

under the assumption agreement exceeds the value of the property,

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Rural Housing's claims under the $82,390, $3,000, and $2,600
promissory notes are entirely unsecured under § 506(a).

For the reasons set forth above, the Objection will be
overruled. The court will issue an appropriate order.
Dated: October 3?, 2009 _MBM

ROBERT S. BARDWIL
United States Bankruptcy Judge

 

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CERTIFlCATE OF MAILING

I, Andrea Lovgren, in the performance of my duties as Deputy Clerk to the Honorable
Robert S. Bardwil, mailed by ordinary mail a true copy of the attached document on today’s date
to each of the parties listed below:

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DATE: OCT 30 2009 MA C\
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Deputy Clerk

